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                 UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS

            CIVIL ACTION NOS. 19-11650-RGS, 19-11651-RGS

                             MARK DOWNEY

                                     v.

                          UNITED STATES, et al.


                    FINAL ORDER OF DISMISSAL


     In accordance with the Order dated August 19, 2019, dismissing these

actions for the reasons stated therein, it is hereby ORDERED that the

above-captioned matters are dismissed in their entirety.


Date: 8/19/2019                     /s/ Richard G. Stearns
                                    __________________________
                                    UNITED STATES DISTRICT JUDGE
